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December 10, 2024

VIA EMAIL AND U.S. MAIL
TORRES_NYSDCHAMBERS@NYSD.USCOURTS.GOV

Honorable Analisa Torres
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re:     Jane Doe v. Shawn Carter et al., 24-cv-07975-AT

Dear Honorable Judge Torres:

On December 8, 2024, Plaintiff filed an amended complaint naming my client, Shawn Carter, as a
defendant in this lawsuit. On December 9, 2024, we filed a motion seeking to have the court
decline to permit the Plaintiff in this case to proceed anonymously. As noted in that motion,
Plaintiff’s attorney Anthony Buzbee has engaged in a campaign to leverage unfounded and heinous
allegations against celebrities to secure large settlements. He seeks neither justice nor peace for
his victims—he seeks only to benefit himself.
On the afternoon of December 9, 2024, after we had submitted the motion and accompanying
exhibits, our offices received outreach via phone call and email from an individual who provided
her name to us (though wishes to remain anonymous). Mari Henderson spoke to this woman, who
informed Ms. Henderson that she had previously reached out to the Buzbee Law Firm with respect
to allegations of trafficking and abuse unrelated to Mr. Combs (or Mr. Carter). The Buzbee firm
representatives with whom she spoke asked the woman when she met “Diddy” even though her
account did not relate to Mr. Combs at all. Members of the Buzbee firm encouraged this woman
to pursue her claims anonymously even though she did not have any interest in doing so. When
the woman raised wanting to talk to law enforcement she was informed that it was “not
encouraged.” After several outreaches, the woman again spoke with members of the Buzbee firm,
who she felt were pressing her to make allegations of being drugged, held down, and physically
assaulted—allegations that were not true. When the woman declined to adopt the version of events
proposed by members of the Buzbee firm, she was summarily dropped as a client. Though the
woman provided her identity to Ms. Henderson, she wishes to remain unnamed at this time for
fear of retaliation by the Buzbee firm. The information provided by this woman is in the
Declaration of Mari Henderson, attached hereto as Exhibit A.

      quinn emanuel urquhart & sullivan, llp
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This information, which came to Quinn Emanuel unsolicited, is further evidence in support of Mr.
Carter’s right to thoroughly investigate, test, and respond to the spurious allegations that have been
leveled against him.
We respectfully request that the Court consider this additional information, which was received by
Quinn Emanuel only after the filing of yesterday’s motion was complete, in connection with the
motion to deny the Plaintiff’s request to proceed anonymously.

Respectfully Submitted,

QUINN EMANUEL URQUHART & SULLIVAN, LLP




Alex Spiro

CC: Antigone Curis




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